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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )             8:05CR342
                       Plaintiff,              )
                                               )
       vs.                                     )                ORDER
                                               )
MAURICE ELLIS BLACKBIRD,                       )
MARCEL ELMER BLACKBIRD,                        )
JOHN RAY MONIZ and                             )
SHERRY MONIZ DUEY,                             )
                                               )
                       Defendants.             )
       This matter is before the court on the motion for an extension of time by defendant Sherry
Moniz Duey (Duey) (Filing No. 53). Duey seeks an additional thirty days in which to file pretrial
motions in accordance with the progression order (Filing No. 50). Duey's counsel represents that
Duey will file an affidavit wherein she consents to the motion and acknowledges she understands
the additional time may be excludable time for the purposes of the Speedy Trial Act. Duey's counsel
represents that government's counsel has no objection to the motion.          The pretrial motion
deadline will be extended for all defendants in this case. Upon consideration, the motion will
be granted.
       IT IS ORDERED:
       Defendant Duey's motion for an extension of time (Filing No. 53) is granted. All defendants
are given until on or before November 17, 2005, in which to file pretrial motions pursuant to the
progression order. The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result of
the granting of the motion, i.e., the time between October 18, 2005 and November 17, 2005, shall
be deemed excludable time in any computation of time under the requirement of the Speedy Trial
Act for the reason defendants' counsel require additional time to adequately prepare the case, taking
into consideration due diligence of counsel, and the novelty and complexity of this case. The failure
to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 18th day of October, 2005.
                                                         BY THE COURT:
                                                         s/Thomas D. Thalken
                                                         United States Magistrate Judge
